    Case 2:12-cv-03319-SDW-SCM Document 73 Filed 03/29/19 Page 1 of 1 PageID: 698
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                                                    March 28, 2019


      VIA ECF
      Hon. Steven C. Mannion, U.S.M.J.
      Martin Luther King Building & U.S. Courthouse
      50 Walnut Street, Room 5060
      Newark, New Jersey 07101


             Re:    Armstrong v. Andover Subacute & Rehab Center Services One, Inc., et al.
                    Civil Action No. 2:1 2-CV-3 319-SDW-SCM

      Dear Judge Mannion:

               This firm represents Defendant Sanjay K. Jam, M.D. in the above referenced action.
      PlaintiffYRelator as well as codefendants have consented to
      may Answer, Move, or Otherwise Reply for a period of 21 days. The current deadline to file a
      pleading is Monday, April 1, 2019. That would make the response to the Amended Pleading due
      on or before Monday, April 22, 2019. We inadvertently already filed a Local Rule 6.1(b)
      application. My apologies for any confusion.

              Thank you for Your Honor’s anticipated courtesy and cooperation with regarding to this
      request. Should Your Honor have any questions, we will gladly set up another telephone
      conference to address this issue.


                                                           Respectfully Yours,
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                                                           BENJAMIN H. HAFTEL
      BHH: stc
      cc: All Counsel of Record (via ECF)


                         Ck                        4t C0                —




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                                                                                          c. e g.
                                                                        SO ORDERED
                                                                            s/Steven C. Mannion
                                                                        Sieven    C. Mannion, U.$.MJ.
                                                                        Date:
